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                                   Electronic Appearance Sheet


Stephen Lemmon, Streusand, Landon, Ozburn and Lemmon
Client(s): PQPR

David Zensky, Akin
Client(s): Jones UCC

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Client(s): Jones UCC

Sara Brauner, Akin
Client(s): Jones UCC

Katherine Porter, Akin
Client(s): Jones UCC

Anna Kordas, Akin
Client(s): Jones UCC

Melanie Miller, Akin
Client(s): Jones UCC

Melissa Haselden, Haselden Farrow PLLC
Client(s): Trustee




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